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                                                                                   MAY 12 2021
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS                    Clerk) U.S. District Court
                                                                                    Texas Eastern
                                   SHERMAN DIVISION

  UNITED STATES OF AMERICA                                       SEALED

  v.                                                             No. 4:21-CR-
                                                                 Judge




  BRODERICK STEVEN JOHNSON (4)
   a.k.a. Goldie




                                      INDICTMENT
 THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                Violation: 21 U.S.C. § 846 (Conspiracy
                                                to Possess with the Intent to Distribute
                                                Marijuana)

       That from sometime in or about January 2017, and continuously thereafter up to

 and including May 12, 2021, in the Eastern District of Texas and elsewhere,




                         Broderick Steven Johnson, a.k.a. “Goldie


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 defendants, did knowingly and intentionally combine, conspire, and agree with each other

 and other persons known and unknown to the United States Grand Jury, to knowingly

 and intentionally possess with the intent to distribute 1000 kilograms or more of a

 mixture or substance containing a detectable amount of marijuana, a violation of 21

 U.S.C. § 841(a)(1).

         In violation of 21 U.S.C. § 846.

                                            Count Two

                                                   Violation: 18 U.S.C. § 1956(h)
                                                   (Conspiracy to Commit Money
                                                  Laundering in violation of 18 U.S.C.
                                                   §§ 1956(a)(l)(A)(i); 1956(a)(l)(B)(i))
         That from sometime in or about January 2017, and continuously thereafter up to

 and including May 12, 2021,




 defendants, did knowingly, willfully, and unlawfully combine, conspire, confederate, and

 agree together and with each other, and with others known and unknown to the Grand

 Jury, to commit certain offenses against the United States, to-wit:

         1. to knowingly conduct and attempt to conduct financial transactions affecting

 interstate commerce that involved the proceeds of a specified unlawful activity, that is,



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 Conspiracy to Possess with the Intent to Distribute a Controlled Substance, as described

 in Count One of this Indictment, with the intent to promote the carrying on of said

 specified unlawful activity, and that while conducting and attempting to conduct such

 financial transactions, knew that the property involved represented the proceeds of some

 form of unlawful activity, in violation of 18 U.S.C. § I956(a)(l)(A)(i);

        2. to knowingly conduct and attempt to conduct financial transactions affecting

 interstate commerce that involved the proceeds of a specified unlawful activity, that is,

 Conspiracy to Possess with Intent to Distribute a Controlled Substance, as described in

 Count One of this Indictment, knowing that the transaction was designed in whole or in

 part to conceal and disguise the nature, location, source, ownership, and control of the

 proceeds of the specified unlawful activity, and that while conducting and attempting to

 conduct such financial transactions, knew that the property involved represented the

 proceeds of some form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(I)(B)(i);

        All in viol tion of 18 U.S.C. § 1956(h).

           NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

        As a result of committing the offense charged in this Indictment, the defendants

 shall forfeit to the United States, pursuant to 18 U.S.C. § 982 and 21 U.S.C. § 853, all

property used to commit or facilitate the offenses, proceeds from the offenses, and

property derived from proceeds obtained directly or indirectly from the offenses,

 including but not limited to the following:




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         $6,188 in U.S. currency seized from and

         $17,200 in U.S. currency seized from

                                                A TRUE BILL




                                                GRAND JURY FOREPERSON


 NICHOLAS J. GANJEI
 ACTING UNITED STATES ATTORNEY



 HEATHER RATTAN Date
 Assistant United States Attorney




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

  UNITED STATES OF AMERICA                             §           SEALED
                                                       §
  v.                                                   §            No. 4:21-CR-
                                                       §            Judge
                                                       §
                                                       §
                                                       §
                                                       §
                                                       §
                                                       §
                                                       §
  BRODERICK STEVEN JOHNSON (4)                         §
   a.k.a. Goldie                                       §
                                                       §
                                                       §
                                                       §
                                                       §
                                                       §
                                                       §
                                          Count One

 Violation: 21 U.S.C. § 846

 Penalty: If 1000 kilograms or more of a mixture or substance containing a detectable
                 amount of marijuana -- not less than 10 years and not more than life
                 imprisonment, a fine not to exceed $10 million, or both; supervised release
                 of at least five years.

 Special Assessment: $100.00

                                          Count Two

 Violation: 18 U.S.C. § 1956(h) in violation of 18 U.S.C. §§ 1956(a)(l)(A)(i) and
                 1956(a)(l)(B)(i)



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 Penalty: Not more than 20 years imprisonment; a fine not to exceed $500,000 or
                 twice the pecuniary gain or loss, and a term of supervised release of not
                 more than 3 ye rs.


 Special Assessment: $100.00




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